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August 17, 2022

By ECF
Honorable Sean H. Lane
United States Bankruptcy Judge
Southern District of New York
The Hon. Charles L. Brieant Jr.
Federal Building and United States Courthouse
300 Quarropas Street
White Plains, New York 10601-4150

       Re:     Congregants of Mosdos Chofetz Chaim Inc. v. Mosdos Chofetz Chaim Inc.,
               Adv Proc. No. 21-7023 (SHL)

Dear Judge Lane:
       Earlier this month we filed the Clerk’s undertaking [Bond No. E707022] with the Clerk of
the Court and sent the CRDI undertaking [Bond. No. E707023] to counsel for CRDI, Tracy
Klestadt Esq., by federal express overnight delivery.

       Copies of the bonds and certificates of service are annexed.

                                      Respectfully yours,

                                        /s/ Daniel Alter

                                          Daniel Alter

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Tracy Klestadt, Esq. (via ECF and e-mail [TKlestadt@Klestadt.com])
Brendan Scott, Esq. (via ECF and e-mail [BScott@Klestadt.com])
